IN THE DISTRICT COURT OF THE UNITED STATES FOR THE                     

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION                       


DANIEL ERIC COBBLE,             )                                         
                             )                                         
  Plaintiff,                 )                                         
                             )       CIVIL ACTION NO.                  
  v.                         )         2:19cv416-MHT                   
                             )              (WO)                       
U.S. ATTORNEY GENERAL,          )                                         
CURRENT AND FUTURE,             )                                         
                             )                                         
  Defendant.                 )                                         

                          ORDER                                        
  This cause is now before the court on plaintiff's                    
motion for leave to proceed on appeal in forma pauperis                   
(doc. no. 11).                                                            
  28 U.S.C. § 1915(a) provides that, "An appeal may                    
not  be   taken   in  forma   pauperis   if  the   trial   court          
certifies   in   writing   that   it  is  not   taken  in   good          
faith."  In making this determination as to good faith,                   
a court must use an objective standard, such as whether                   
the  appeal   is  "frivolous,"   Coppedge   v.  United  States,           
369   U.S.   438,   445  (1962),    or  "has   no   substantive           
merit."  United States v. Bottoson, 644 F.2d 1174, 1176                   
(5th Cir. Unit B May 15, 1981) (per curiam); see also                     
Rudolph   v.  Allen,  666  F.2d   519,  520  (11th  Cir.   1982)          
(per curiam); Morris v. Ross, 663 F.2d 1032 (11th Cir.                    

1981).     Applying  this  standard,   this   court  is  of  the          
opinion,   for  the  reasons   stated  in  the  recommendation            
of the United States Magistrate Judge (doc. no. 3) and                    
the court’s opinion (doc. no. 7), that the plaintiff's                    

appeal   is   without    a  legal   or   factual    basis   and,          
accordingly, is frivolous and not taken in good faith.                    
See, e.g., Rudolph v. Allen, supra; Brown v. Pena, 441                    
F. Supp. 1382 (S.D. Fla. 1977), aff'd without opinion,                    

589 F.2d 1113 (5th Cir. 1979).                                            
                           ***                                         
  Accordingly,    it  is  ORDERED    that  the   plaintiff's           

motion   to   proceed   on   appeal   in   forma   pauperis   is          
denied; and that the appeal in this cause is certified,                   
pursuant to 28 U.S.C. § 1915(a), as not taken in good                     
faith.                                                                    

  DONE, this the 12th day of August, 2019.                             

                              /s/ Myron H. Thompson                    
                           UNITED STATES DISTRICT JUDGE                